In Banc.
Claim for compensation under Workmen's Compensation Law. An appeal to the circuit court for Jackson county from an order denying plaintiff's application for rehearing having been dismissed on the ground that said appeal should have been taken to the circuit court of Douglas county, a resolution asking that the claim be heard upon its merits was adopted by the legislative assembly and further correspondence was had concerning said claim between plaintiff's attorney and the commission, whereupon a further investigation was prosecuted by the commission and testimony taken. Thereafter, the claim agent of the commission addressed and forwarded a letter to the attorney for the claimant to the effect that all three members of the commission had carefully reviewed all of the evidence pertaining to the claim and had found no ground for reopening the same. This letter was signed State Industrial Accident Commission, R.E. Jackson, Claim Agent, and was dated March 26, 1934.
Plaintiff thereupon prosecuted an appeal to the circuit court of Douglas county by serving and filing a notice of appeal and a complaint. A demurrer to said complaint having been sustained and said appeal dismissed by said circuit court of Douglas county, plaintiff appeals.
The question herein is whether the letter of the claim agent of the State Industrial Accident Commission, dated March 26, 1934, and addressed to the attorney for the claimant herein, was an appealable order.
The plaintiff cites Meaney v. State Industrial AccidentCommission, 113 Or. 371 (227 P. 305, 232 P. 789). *Page 526 
The doctrine of that case is that the right of appeal was not limited to the final action of the commission on the original application but extended to any subsequent final action of the commission upon an application for allowance based upon aggravation of the injury or the termination of an allowance theretofore made.
In that case, this court held that the commission was in no position to complain about the informality of its final action from which the appeal was prosecuted, because on its own motion and without notice to plaintiff it had several times stopped payments of the allowance as originally made and also had reduced the allowance without notice to plaintiff. Upon the latest action of discontinuing payment, plaintiff applied to be reinstated and his application was refused.
It will be noted that in the Meaney case the facts are widely different from those in the case at bar.
In the following cases, letters similar to the one in suit have been held not to be order of the commission: Miller v.State Industrial Accident Commission, 149 Or. 49
(39 P.2d 366); Jackson v. State Industrial Accident Commission, 114 Or. 373
(235 P. 302), and Monahan v. State Industrial AccidentCommission, 139 Or. 417 (10 P.2d 605).
Under the facts of this case, we are unwilling to treat the letter in suit as an appealable order. To do so would tend to prevent the claim agent of the commission from affording written information to claimants as to the state of the record of their claims.
We are also unwilling to hold that an examination of the facts of a given case by the commission in the absence of an application therefor by the claimant, whether induced by the intercession of third parties or made upon the motion of the commission only, should *Page 527 
be treated as a rehearing of the claim for the purposes of an appeal.
Without withholding in any degree the respect and consideration always due from one coordinate branch of the government to another, we are constrained to hold that the passage by the legislative assembly of the resolution, asking that plaintiff's claim be heard upon its merits, created no right in favor of plaintiff and imposed no new duty upon the commission.
The judgment of the circuit court is affirmed. *Page 528 